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                           IN THE UNITT]D STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                 Case No.: 21-CR-156 (JDB)

          v.                                              18 U.S.C. $17s2(a)

STEPHEN AYRES,

          Defendant.


                                   STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Stephen Ayres, with

the concurrence of his attomey, agree and stipulate to the below factual basis for the defendant's

guilty plea-that is, if this case were to proceed to trial, the parties stipulate that the United States

could prove the below facts beyond a reasonable doubt:

                           The Attack at the U,S. Capitol on January 6,2021

          1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.       On January 6,2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.       On January 6,2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street. SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certifu the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3,2020. The joint session

began at approximately l:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned      to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the   joint   session, and then in the Senate chamber.

         4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP offtcers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

         5.      At   approximately 2:00 PM, certain individuals       in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior fagade of the building. The crowd was not lawfirlly authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

         6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.




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        7.        Shortly thereafter,    at   approximately 2:20 PM, members         of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed   to-and   did----evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the     joint   session, were effectively suspended   until shortly after 8:00

PM on January 6,2021. In light of the dangerous circumstances caused by the unla,*firl entry to

the Capitol-including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check-Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


               Stephen Ayres's Participation in the January 6,2021, Capitol Riot

       8.      On or about January 5,2021, the defendant, Stephen Ayres, traveled from Ohio to

Washington, D.C., via automobile. The purpose of the defendant's trip to Washington, D.C., was

to protest Congress' certification of the Electoral College.

       9.      Prior to January 6, the defendant made posts on his Facebook account relating to

the purpose of this   trip. In particular, in a post made on January 2,2021, defendant Ayres stated:

"History is being made right in front of your eyes! When your grandchildren ask "Where were you

when...........happened?" What's your answer going to be?" The post attaches an image of a poster

stating, 'oJanuary 6th Washinglon, DC, the president is calling on us to come back to Washington

on January 6th for a big protest   -   'Be there, will be wild."' In addition, in a post made on January

3,2021,he stated: "Mainstream media, social media, Democrat party, FISA courts, Chief Justice




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John Roberts, Joe Biden, Nancy Pelosi, etc....all have committed TREASON against a sitting U.S.

president! !!   All   are now put on notice by 'We The People!"'

          10.     On January 6, defendant Ayres attended the "Stop the Steal" rally and then marched

with other protestors to the Capitol.

          11.     At about 2:30 p.m., defendant Ayres was with a crowd that had gathered outside

the Senate Wing Doors of the Capitol.

          12.     At approximately 2:51 p.m, after the make-shift barricades set up by Capitol police

officers had been breached, the defendant entered the Capitol through the Senate Wing Doors. He

remained inside the Capitol for approximately ten minutes. The defendant joined with others in

chanting and parading inside the Capitol.

          13.     On January 7,2021, a video was posted to YouTube showing defendant Ayres,

another male individual (Male 1) and a female inside a hotel room after the         riot. Male   1 stated:

"It's not over, trust me. The purpose of today was to         expose Pence as a traitor," and the female

responded that that "the American people are not going to let this slide, especially after today."

Defendant Ayres responded, "yup." Defendant Ayres stated that the "fake news" would not

accurately report on what happened at the Capitol but that they had "seen          it all" and they "got

footage all over the place on the Capitol" and that they would "probably share some of it here and

there."




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        14.    The defendant willfully and knowingly entered the U.S. Capitol Building that he

did not have permission to enter the building, and the defendant paraded, demonstrated, or

picketed inside the building.




                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. BarNo.48l052


                                            By
                                                     Nihar R. Mohanty
                                                     Assistant United States
                                                     D.C. Bar No. 436-686




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                           DEFE     ANT'S A CKNOWLEDG MENT

       I, Stephen Ayres, have read this Statement of the Offense and have discussed it with my
attomey. I fully understand this Statement of the Offense. I agree and acknowledge by my
signatue that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that couH
imFede my ability to understand this Statement of     Offense fully.


Darc:5-L5-,:r.LL
                                      Stephen
                                      Defendant



                       '   ATTORNEY'SACKN OWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.



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                                      Eugene Ohm
                                      Attomey for Defendant




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